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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                               )
  UNITED STATES OF AMERICA                     )
                                               )       Criminal No. 18-10364-DPW
                      v.                       )
                                               )
                                               )
  JASIEL F. CORREIA, II,                       )
                                               )
                       Defendant.              )
                                               )

                                      NOTICE OF APPEAL

       Notice is hereby given that the United States of America (the prosecution in the above-

captioned case) hereby appeals to the United States Court of Appeals for the First Circuit from the

district court’s (Woodlock, J.) September 27, 2021 Electronic Order (Docket Entry No. 310)

granting defendant’s motion for judgment of acquittal as to Counts 1, 4, 5, 7, 8, 9, 10, 11, 12, and

13 of the Second Superseding Indictment. See Fed. R. App. P. 4(b)(1)(B)(ii) (providing that “when

the government is entitled to appeal, its notice of appeal must be filed in the district court within

30 days after the later of * * * (ii) the filing of a notice of appeal by any defendant”).

                                               Respectfully submitted,

                                               NATHANIEL R. MENDELL
                                               Acting United States Attorney

                                       By:     /s/ Mark T. Quinlivan
                                               DUSTIN CHAO
                                               DAVID G. TOBIN
                                               MARK T. QUINLIVAN
                                               Assistant U.S. Attorneys




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                                    Certificate of Service

        I hereby certify that on November 8, 2021, this Notice of Appeal filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.
                                                    /s/ Mark T. Quinlivan
                                                    MARK T. QUINLIVAN
                                                    Assistant U.S. Attorney




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